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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  IN RE SUBPOENAS ISSUED TO THE                       )
  FERRARO LAW FIRM in IN RE BESTWALL,                 )
  LLC, CASE NO. 3:17-BK-31795-LTB,                    )
  PENDING IN THE BANKRUPTCY COURT                     )       Case No. 1:21-mc-24360-FAM
  FOR THE WESTERN DISTRICT OF NORTH                   )
  CAROLINA.                                           )
  ________________________________________            )


  NOTICE OF WITHDRAWAL OF THE FERRARO LAW FIRM’S MOTION TO QUASH
   OR MODIFY BESTWALL LLC’S SUBPOENA DUCES TECUM AND SUBPOENA AD
                           TESTIFICANDUM
         NOW COMES the Ferraro Law Firm (“Ferraro Law”), by and through its undersigned

  counsel, and hereby files this notice of withdrawal of The Ferraro Law Firm’s Motion to Quash

  or Modify Bestwall LLC’s Subpoena Duces Tecum and Subpoena ad Testificandum [ECF No. 6]

  (the “Motion to Quash”). As reasons for withdrawing the Motion to Quash, Ferraro Law

  respectfully states as follows:

         1.      On March 29, 2022, a hearing was held in the United States District Court for the

  District of Maryland before the Honorable Judge Stephanie A. Gallagher regarding subpoenas

  issued by counsel for Bestwall, LLC (“Bestwall”) to Peter Angelos Law, P.C. In light of the ruling

  issued by Judge Gallagher on that same date, the parties have agreed to certain stipulations with

  respect to the subpoenas issued by Bestwall to Ferraro Law (attached hereto as Exhibit A) that

  resolve the Motion to Quash.

         2.      Counsel for Ferraro Law has conferred with counsel for Bestwall regarding this

  notice and withdrawal of the Motion to Quash, and Bestwall has no objection thereto.




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        Respectfully submitted, this the 8th day of April, 2022.

                                              /s/ Thomas W. Waldrep, Jr.
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